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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.:

AARON LUCERO,

       Plaintiff,

v.

APRIA HEALTHCARE, LLC,

       Defendant.

______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       Plaintiff Aaron Lucero, by and through undersigned counsel, brings this Complaint and

Jury Demand against Defendant Apria Healthcare, LLC and states the following in support:

                                    NATURE OF ACTION

       Plaintiff Aaron Lucero (“Lucero” or “Plaintiff”) loyally served as a Branch Logistics

Manager for Defendant Apria Healthcare, LLC (“Apria” or “Defendant”). Plaintiff brings this

action for damages against Apria as a result of Apria’s discrimination and retaliation against

Plaintiff because of his physical disability in violation of the Americans with Disabilities Act of

1990, Pub. L. No. 101-336, 104 Stat. 328 (1990)(42 U.S.C. ch. 126 § 12101, et seq.), as amended

(“ADA”).

                                           PARTIES

       1.      Plaintiff worked as an employee of Apria and was a resident of Colorado during his

employment with Defendant.
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        2.         Plaintiff is a member of a protected class of individuals as defined by ADA § 12102.

Specifically, Plaintiff suffers from a qualifying physical disability that substantially impacts major

life activities.

        3.         Defendant is an employer as defined by ADA § 12111.

        4.         Defendant is a Foreign Limited Liability Company registered in Delaware with a

principal office located at 26220 Enterprise Court, Lake Forest, California 92630.

        5.         Defendant employed more that fifteen (15) employees during Plaintiff’s

employment.

                                    JURISDICTION AND VENUE

        6.         Jurisdiction is asserted pursuant to the ADA. Jurisdiction is proper in this Court

pursuant to 28 U.S.C. § 1331.

        7.         Jurisdiction is also proper pursuant to 28 U.S.C. § 1332 in that Defendant is a

citizen of a foreign state and the amount in controversy exceeds $75,000.00.

        8.         This Court has personal jurisdiction over Defendant pursuant to C.R.S. § 13-1-124

because Defendant transacts business in the State of Colorado.

        9.         Venue is proper pursuant to 28 U.S.C. §1391(b)(2), as the Defendant conducts

business within this District and the acts alleged by Plaintiff occurred in this District.

                                   ADMINISTRATIVE HISTORY

        10.        Plaintiff has timely and properly exhausted his administrative remedies by dual

filing an initial Charge of Discrimination alleging disability discrimination and retaliation on or

about December 13, 2018 with the Colorado Civil Rights Division (“CCRD”) and the Equal

Employment Opportunity Commission, Charge No. FE2019167193 / 32A-2019-00208.



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        11.     This lawsuit is timely filed within ninety (90) days after Plaintiff’s receipt of the

Closing Action and Notice of Right to Sue from the CCRD postmarked February 3, 2020.

                                   FACTUAL ALLEGATIONS

        12.     Plaintiff incorporates the preceding allegations by reference as if fully stated herein.

        13.     On or about July 1, 2013, Apria hired Lucero as a Patient Services Technician.

        14.     Lucero performed his job duties satisfactorily, receiving a promotion to

Transportation Lead on or about November 24, 2014.

        15.     These positions at Apria required Lucero to lift heavy items at times.

        16.     On or about November 2, 2015, Lucero suffered a work-related injury to his lower

back that led to a permanent modification of his job duties through his workers’ compensation

claim, including some restrictions on lifting, pushing, and pulling.

        17.     The permanent modifications were limited, and Lucero could perform the essential

functions of the job without issue.

        18.     Lucero continued to perform satisfactorily for Apria, receiving a promotion to

Branch Logistics Manager (“BLM”) on or about March 27, 2017.

        19.     Keith Burt (“Burt”), Lucero’s General Manager, recruited Lucero for the BLM

position and informed him that Apria would continue to recognize Lucero’s permanent work

restrictions.

        20.     Essential functions of the BLM position included occasional lifting/carrying 10-

160 pounds and occasionally pushing/pulling 20-60 pounds.

        21.     Burt explained that the position of BLM would require less driving and lifting

required for home or facility deliveries, and instead Lucero would work more in an office role.



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        22.      Burt explained that Lucero should not be concerned about the physical

requirements of the BLM position.

        23.      Lucero performed the responsibilities of BLM without issue following his

acceptance of the position.

        24.      Lucero worked as a BLM at the Apria facility located at 7367 South Revere

Parkway, Suite 2-C, Centennial, Colorado 80112.

        25.      On or about September 13, 2017, Apria granted Lucero’s permanent

accommodation request.

        26.      On or about September 24, 2017, Lucero took a leave of absence to deal with an

unrelated medical condition.

        27.      On or about December 1, 2017, while out of work on medical leave, Plaintiff

suffered injuries stemming from a motor vehicle collision.

        28.      Plaintiff’s physical injuries sustained in the collision caused significant physical

limitations that are expected to remain for the duration of Plaintiff’s life.

        29.      Plaintiff suffers from a qualifying physical disability as a result of the collision.

Specifically, Plaintiff has bulging discs in his neck and back, as well as nerve damage in his right

arm.

        30.      Plaintiff’s disability substantially impacts major life activities by causing physical

mobility limitations, including limitations on his ability to lift objects.

        31.      On or about January 8, 2018, Lucero returned to work at Apria.

        32.      Upon his return, Lucero discussed accommodations with Leticia Rodriguez

(“Rodriguez”).



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        33.     Lucero requested reasonable accommodations upon his return that would limit his

lifting to 35 pounds and would allow him to work a somewhat flexible schedule so that he could

attend physical therapy and chiropractic visits to treat his physical injuries.

        34.     Apria approved these accommodations for Lucero, and he continued to perform his

job duties satisfactorily.

        35.     On or about April 23, 2018, Lucero requested additional reasonable

accommodations, including a modified flexible work schedule of 8 hours per day that would allow

him to attend medical appointments, a 25 pound lifting restriction, a sit/stand desk, and the ability

to conduct some aspects of his job through remote telework.

        36.     In his reasonable accommodation request, Lucero’s medical provider did not

provide a date certain of when he would be able to perform the essential functions of his job.

        37.     Apria allowed Lucero’s accommodation requests for a limited duration and

provided him with a sit/stand workstation on or about May 17, 2018.

        38.     On or about May 25, 2018, Apria held a telephone call with Lucero during which

Lucero provided information to Rodriguez about continued reasonable accommodation requests,

including a somewhat flexible schedule to attend medical appointments and the ability to telework

remotely if necessary.

        39.     Apria neglected to discuss job reassignment as a potential reasonable

accommodation with Lucero during each of his interactions requesting reasonable

accommodations.

        40.     Soon after the meeting on May 25, 2018, Apria made the decision to deny Lucero’s

request for reasonable accommodations.



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          41.    On or about June 7, 2018, Lucero received an email from Kym Knoll informing

him that Rodriguez no longer worked for Apria and she would handle his accommodation request

going forward.

          42.    On or about June 14, 2018, Lucero received an email from Apria denying his

accommodation request.

          43.    On or about June 18, 2018, Apria terminated Lucero’s employment.

                                  FIRST CAUSE OF ACTION
                             Disability Discrimination - ADA § 12112

          44.    Plaintiff incorporates the preceding allegations by reference as if fully stated

herein.

          45.    Defendant is an employer as that term is defined under the ADA.

          46.    Lucero’s back, neck, and arm nerve conditions substantially impact major life

activities for Lucero and are in totality a qualifying disability under the ADA.

          47.    Defendant knew that Plaintiff suffered from a qualifying disability and was disabled

pursuant to the ADA.

          48.    Defendant willfully and intentionally subjected Lucero to disability discrimination

by refusing to provide him the requested reasonable accommodations of the ability to telework

from home as needed and a flexible schedule that would allow him to attend medical appointments.

          49.    Defendant willfully and intentionally subjected Lucero to disability discrimination

by refusing to provide him with options for job reassignment as a reasonable accommodation.

          50.    Defendant terminated Lucero’s employment because of his physical disability and

Apria’s refusal to provide Lucero with his requested reasonable accommodations.




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          51.   Defendant knew its actions violated the ADA, or in the alternative, it acted

recklessly indifferent in that regard.

          52.   As a direct and proximate result of the foregoing actions and conduct of Apria,

Lucero has suffered, and will continue to suffer, economic damages including loss of back wages,

front wages, and benefits, as well as non-economic damages including pain and suffering,

humiliation, mental anguish, and inconvenience. Lucero also seeks attorney’s fees, costs and

expenses, and other damages to be determined at trial.

                                 SECOND CAUSE OF ACTION
                                   Retaliation - ADA § 12203

          53.   Plaintiff incorporates the preceding allegations by reference as if fully stated

herein.

          54.   Lucero     engaged       in   protected   activity   by   requesting   reasonable

accommodations.

          55.   Defendant’s conduct in subjecting Lucero to the adverse employment action of

termination following his requests for reasonable accommodations is in violation of the ADA §

12203.

          56.   The effect of these statutory violations was to deprive Lucero of rights and

privileges enjoyed by persons who have not engaged in activities protected by the ADA.

          57.   These statutory violations were intentional.

          58.   These statutory violations were willful and wanton, and/or were done with malice

or with reckless indifference to Lucero’s federally protected rights.

          59.   As a direct and proximate result of the foregoing actions and conduct of Apria,

Lucero has suffered, and will continue to suffer, economic damages including loss of back wages,


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front wages, and benefits, as well as non-economic damages including pain and suffering,

humiliation, mental anguish, and inconvenience. Lucero also seeks attorney’s fees, costs and

expenses, and other damages to be determined at trial.

                                          JURY DEMAND

       Plaintiff requests a trial to a jury on all issues so triable.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Aaron Lucero prays for judgment against Defendant Apria

Healthcare, LLC in an amount to be determined at trial, pre-judgment and post-judgment interest,

costs and expert witness fees, attorney’s fees, and for such other and further relief as provided by

statute and that the Court may deem proper.

Dated: May 1, 2020.

                                                Respectfully submitted,

                                                /s/Andrew C. Quisenberry
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